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                      Exhibit C

          Reginald Fowler’s Affidavit
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                      AFFIDAVIT BY REGINALD FOWLER

STATE OF Arizona             )
                             ) SS:
COUNTY OF Maricopa           )

Reginald Fowler, being duly sworn, deposes and says:

    1. On October 23, 2018, I was the owner or controller of the HSBC accounts as
       those accounts are described in the instant motion papers.

   2. The seizure of the HSBC accounts resulted in my and GTS unable to do business
      or otherwise access or direct the HSBC accounts, causing injury to me.

   3. When the HSBC accounts were seized, I called HSBC but HSBC was unable to
      assist me in understanding the reason for the seizures.

   4. They did however provide me with contact information for members of the FBI.

   5. Consequently, on October 24, 2018--one day after the seizures-I made a phone
      call to membersof the FBI and spoke to members o~


                                                 Reginald Fow~~r


Signed and sworn to before me
on October 12, 2021 (date)




                    JEAN GRIES
                Notary Public • Arizona
                  Maricopa County
                Comm,ss,on #587992
              y Comm.ExpiresMay11.2024




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